                             United States District Court
                           Western District of North Carolina
                                  Asheville Division

 ERIN OSMON,                           )             JUDGMENT IN CASE
                                       )
              Plaintiff,               )            1:20-cv-00031-MR-WCM
                                       )
                 vs.                   )
                                       )
 UNITED STATES OF AMERICA,             )
 and TSO ROBINSON,                     )
                                       )
             Defendants.               )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 29, 2021 Order.

                                               March 29, 2021




      Case 1:20-cv-00031-MR-WCM Document 29 Filed 03/29/21 Page 1 of 1
